         Case
          Case2:11-cr-00434-RFB-PAL
                2:11-cr-00434-LDG-PAL Document
                                      Document670  Filed07/13/16
                                               669 Filed 07/15/16 Page
                                                                   Page11
                                                                        ofof
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 6
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 7

 8

 9                     UNITED STATES DISTRICT COURT
10                          DISTRICT OF NEVADA
                                                  -oOo-
11
     UNITED STATES OF AMERICA,                       )
12                                                   )   Case No.: 2:11-CR-434-LDG-PAL
                    Plaintiff,                       )
                                                     )   GOVERNMENT’S MOTION TO AMEND
13                                                   )   ORDER DISMISSING INDICTMENT AND
            vs.                                      )   QUASHING ARREST WARRANT
14                                                   )   (Doc. No. 668)
     OLEH RYMARCHUK,               Defendant.        )
15                                                   )
                                                     )
16                                                   )
            COMES NOW, the United States, by and through DANIEL G. BOGDEN, United States
17
     Attorney, and Kimberly M. Frayn, Assistant United States Attorney, and moves to Amend
18
     Order Dismissing Indictment and Quashing Arrest Warrant (Doc. No. 668) because the
19
     Defendant’s last name was inadvertently spelled incorrectly. Accordingly, the Government
20
     respectfully moves for this court to amend its June 29, 2016 order by correcting the spelling of
21

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         Case
          Case2:11-cr-00434-RFB-PAL
                2:11-cr-00434-LDG-PAL Document
                                      Document670  Filed07/13/16
                                               669 Filed 07/15/16 Page
                                                                   Page22
                                                                        ofof
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 1   the defendant’s last name from the incorrect spelling of “RYMARCHUCK” to the correct

 2   spelling of RYMARCHUK.

 3
     Date: July 13, 2016                       Respectfully submitted,
 4
                                               DANIEL G. BOGDEN,
 5                                             United States Attorney

 6                                             /s/ Kimberly M. Frayn
                                               KIMBERLY M FRAYN
 7                                             Assistant United States Attorney

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 9
                                       PROPOSED ORDER
10
            IT IS SO ORDERED, the June 29, 2016 order (doc. no. 668) is hereby amended; and
11
            IT IS FURTHER ORDERED that the arrest warrant issued against OLEH
12
     RYMARCHUK is hereby quashed and the Indictment and Superseding Indictment (doc. no. 1
13
     and 243) pending against OLEH RYMARCHUK, is hereby dismissed.
14

15   DATED:        July 2016
16
                                       HONROABLE LLOYD D. GEORGE
17                                     UNITED STATES DISTRICT COURT JUDGE

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